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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
HARRISONBURG DIVISION

UNITED STATES OF AMERICA
Criminal Case No. 5:72-cr- 0&

In Violation of:

18 U.S.C. § 876(c)

: Mailing Threatening Communications

GERALD LEONARD DRAKE : 18 U.S.C. § 844)

: Malicious Use of Explosives
26 U.S.C. §§ 5841, 5861(f), 5871
Unlawful Manufacture of a
Destructive Device
26 U.S.C. §§ 5841, 5861(d), 5871
Possession of an Unregistered
Destructive Device
18 U.S.C, § 2261A
Stalking
18 U.S.C. § 844(h)
Explosive to Commit Federal Felony
18 U.S.C. § 844(e)
Use of Mail to Threaten Injury by Means
of Explosive

INDICTMENT

The Grand Jury charges that:

Introductory Allegations
At all times relevant to this Indictment:

1. The Cedar Creek Battlefield Foundation (““CCBF”) is a non-profit organization
dedicated to the preservation of history relating to the Battle of Cedar Creek, a Civil War battle
that occurred on October 19, 1864. The CCBF’s museum and visitor center and the Cedar Creek
Battlefield are in Middletown, Virginia, which is within the Western District of Virginia.

2. Throughout the time period starting on or about September 21, 2017 and ending on

or about September 29, 2018, Individual A served as the President of the CCBF Board of Directors.
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3. The Winchester Star is a daily newspaper located in Winchester, Virginia, a city
within the Western District of Virginia. The Winchester Star covers the Shenandoah Valley area,
which includes Middletown, Virginia and the Cedar Creek Battlefield. The Winchester Star
publishes its news through a hard-copy newspaper and through an online website.

4, The Gettysburg Times is a daily newspaper located in Gettysburg, Pennsylvania.

5. The defendant, Gerald Leonard Drake (“DRAKE”), was a resident of Winchester.

The Annual Reenactment of the Battle of Cedar Creek

6. Every year, the CCBF hosts a planned reenactment of the Battle of Cedar Creek at
the Cedar Creek Battlefield to occur over the course of several days. Civil War reenactors,
enthusiasts, and other public spectators routinely travel from inside and outside of Virginia to
attend the annual reenactment. The event is also attended by various “sutlers,” a term that refers
to vendors and merchants who set up shops during the events to sell merchandise to reenactments
attendees and spectators. The CCBF is largely funded by fees collected by participants and
attendants of the annual battlefield reenactment.

7. Prior to 2014, DRAKE belonged to a reenactment unit that participated in the
annual battle reenactment at Cedar Creek. In 2014, DRAKE was removed from the unit following
an internal conflict and he has not participated as a reenactor in the Battle of Cedar Creek since his
removal. DRAKE volunteered, however, with the CCBF in 2017 and 2018.

8. In 2017, the annual reenactment of the Battle of Cedar Creek and associated events
were scheduled to occur on the weekend of October 13 to 15, 2017.

The Unite the Right Riots of Charlottesville on August 12, 2017

 

9. On or about August 12, 2017, the “Unite the Right” rally was scheduled to occur at

a downtown park in Charlottesville, Virginia, which is within the Western District of Virginia.

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The purported purpose of the rally was to protest the removal of the Robert E. Lee statue located
in the park. The rally was widely promoted on social media and internet sites with white
supremacist individuals and groups and was scheduled to feature a lineup of well-known white
supremacist speakers. On the moming of August 12, 2017, shortly before the scheduled start of
the Unite the Right rally, violent clashes between white supremacist rally supporters and counter-
protestors led law enforcement to declare an “unlawful assembly” and required rally participants
to disperse. Some of the counter-protestors who clashed with white supremacist rally supporters
were widely referred to as members of “Antifa.”

10. “Antifa,” short for Anti-Fascist, does not describe a particular group, but rather
describes individuals who adhere to what they consider as “anti-fascist beliefs.” The term Antifa
is often associated with anarchist violent extremists, individuals who, in addition to holding anti-
fascist beliefs, are also opposed to capitalism and the current form of the U.S. government and
who advocate violence to achieve their goals. Antifa is commonly associated with the colors black
and red, and with a symbol depicting a flag image atop a second flag contained within a circle.

The 2017 Battlefield Reenactment and
Discovery of an Improvised Explosive Device

11. On or about September 23, 2017, a letter was received through the mail delivered
by the United States Postal Service (““USPS” or “Postal Service”) at the CCBF’s visitor center.
The envelope containing the letter was postmarked September 21, 2017 at the USPS’s Northern
Virginia processing center, and the envelope’s upper-left corner had a printed Antifa symbol
depicting a black flag overlayed on top of a red flag inside a circle. The top of the letter bore the

same printed Antifa symbol printed on the envelope. The letter was typewritten, addressed to

“Cedar Creek Battlefield people,” and stated:

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You need to cancel your coming up celebration of the Civil War on October 13, 14,
15, 2017. If you choose to continue with this farce of history, that clearly celebrates
the war to keep African-Americans in chains, than we have no choice but to come
and protest. We will come, and disrupt, and cause problems for all those who attend
this atrocity of history. Several hundred of our supporters will attend, and slash
tires, block traffic, harass Patrons, and re-enactors. We will make Charlottesville
look like a Sunday picnic! Many of us have dogs, so will bring dog feces to throw
on people! We will also throw cups of human urine! We might resort to actually
firing guns into the camps and at the re-enactors! We will put poison in the water, -
we will use noise to disrupt the battles and sleep! These events must stop! Our local
organizer tells us he is ready to go! You have been warned, now if it is not called
off, we will destroy you! You have less than 1 month to issue a cancellation notice,
do it asap!

12. After receiving the letter, the CCBF posted on its website, “IMPORTANT
MESSAGE: PLEASE READ,” which stated:

We would like to make everyone aware that the Cedar Creek Battlefield Foundation

has received a letter threatening bodily harm to attendants of this event. With this

in mind security has been increased and we ask that everyone work with us for a

safe and enjoyable event. Please pardon the inconvenience as you may experience

increased security measures when enjoying the event.

13. On or about October 10, 2017, The Winchester Star reported in an article that:
“Despite a letter threatening to harm people at this weekend’s 153 anniversary of the Battle of
Cedar Creek, the event will go on as planned.”

14. Between September 23, 2017, and October 14, 2017, Individual B, who owned and
operated a sutler business called “The Maryland Sutler” and who resided in Gettysburg,
Pennsylvania, posted on “The Maryland Sutler’s” social media account that law enforcement had
arrested a teenager for the September 23, 2017 letter mailed to the CCBF. In fact, law enforcement ~
had not made any such arrest. Individual B had erroneously posted a news article regarding an
unrelated arrest. When Individual B learned the post was incorrect, he removed it.

15. On October 14, 2017, the CCBF hosted the planned battle reenactment at the Cedar

Creek Battlefield in Middletown, Virginia. During the afternoon, as the battlefield reenactment

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was coming to an end, an unexploded pipe bomb was discovered within the merchant tents on the
battlefield property. Law enforcement responded to the scene to investigate, seized the device,
and later rendered it safe. The remainder of the battlefield reenactment and associated events were
cancelled. The pipe bomb components included a metal pipe nipple, metal end caps, 9-volt battery,
mercury switch, metal nuts adhered to the pipe nipple, black and red wires, BBs and smokeless
powder inside the pipe.

16. Due to the discovery of the pipe bomb, the battle reenactment and remaining events
that day were cancelled, and participants, vendors, and merchants were evacuated. All sutler tents
and sales of merchandise were shut down, and all scheduled public events associated with the
weekend were canceled.

The Annual Gettysburg Remembrance Day Parade

17. Every year, a Gettysburg Remembrance Day Parade occurs in Gettysburg,
Pennsylvania, to honor those who fought and died in the Battle of Gettysburg in the Civil War.
Participants in the parade routinely dress in Civil War-era military uniforms for the Union and the
Confederate military. In 2017, the Gettysburg Remembrance Day Parade was scheduled for
November 18, 2017.

18. On or about November 6, 2017, a letter was received through the mail by The
Gettysburg Times at its offices located in Gettysburg, Pennsylvania. The envelope containing the
letter was postmarked November 2, 2017, at the USPS’s Northern Virginia processing center. The
upper-left corner of the letter’s envelope depicted the same Antifa symbol present on the envelope
containing the September 23, 2017, letter received by the CCBF. The top of the letter bore the
same printed Antifa symbol displayed on the envelope, which was the same as the symbol atop

the September 23, 2017 letter received by the CCBF. The letter was typewritten, and stated:

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Do not allow confederate flags, or confederate men and women in the parade, if
you do we will disrupt the whole weekend. Put a notice on Facebook. We have a
new person to make our bombs for us since the Cedar Creek one was a dud. We
will also run over people with a couple of trucks, and just might have a shooter on
a rooftop or in.a hotel window along the parade route. We can and will set fires.

For proof that we did the cedar creek terror attack, the bomb was pipe with end
caps, 9 volt battery, mercury switch, epoxy, nuts, and BB’s

You have been warned!

19, On November 13, 2017, Individual B received a letter in the mail at his residence
in Gettysburg, Pennsylvania. The envelope was addressed to “The Maryland Sutler” and correctly
listed his first name. The envelope was postmarked November 2, 2017 at the USPS’s Northern
Virginia processing center. The top of the letter contained the same Antifa symbol depicted on
the prior letters received by the CCBF and The Gettysburg Times. The letter was typewritten, and
stated:

Thank you so much for putting on Facebook that a teenager was arrested for the

threat to Cedar Creek, it was so much easier to bring in a bomb. Do something like

this again for us, we are coming to the Gettysburg Parade and speech. Thank you

again for all your help in the last terror event.

20. Notwithstanding the letters received by The Gettysburg Times and Individual B, the
Gettysburg Remembrance Day Parade of 2017 occurred as scheduled, without a security incident.
The events of that year received a substantial amount of precipitation in the form of rain.

The Annual Cedar Creek Battlefield Reenactment of 2018

21. On June 19, 2018, The Winchester Star published an article that discussed the
CCBF’s plans to increase security for the 2018 annual Cedar Creek Battlefield reenactment and
associated events.

22. On June 29, 2018, the CCBF received a letter through the mail addressed to

Individual A, President of the CCBF’s Board of Directors. The letter’s envelope depicted an

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Antifa symbol similar to the symbols displayed on previous letters, but the positions of the flags
had been reversed, with the red flag overlayed on top-of the black flag. The envelope was
postmarked on June 26, 2018, at the USPS’s Baltimore, Maryland processing center. The top of
the letter contained the same printed Antifa symbol depicted on the envelope, with the additional
words “Antifascist USA” and “Action.” The letter stated:

[Individual A],

It looks like you have not heeded our warning to cancel all civil war events
glorifying the war to keep men in chains. I guess you didn’t lose enough last year.
Maybe we should kill your mother for you to stop, a car bomb would do wonders
for her beauty. We didn’t go to the Gettysburg parade, too much law enforcement,
we have saved all our Suspicious Packages for your event, unless you cancel. Your
security is a joke, many ways for us to sneak in with our surprises, lots of places to
get in. Could be a backpack, a diaper bag, a cooler, a rolled up blanket, and we
could even drive it in the trunk, pretend to be a enactor, you never check them.
Don’t think metal detectors will help, we have plastic pipe bombs, fuses, fertilizer,
or dynamite in a thermos, fuel in bottled water, we can build it on the site, or just a
simple drive by shooting, or drone dropping a bomb. Love it there is cell phone
coverage on the site, helps us a lot. If you won’t stop this celebration of slavery
than maybe we need to hurt the participants to stop it instead of just the visitors.
Do you think if their cars and trucks got burnt it might make them stop doing this,
or maybe we poison their kids, or shoot one. Call off this event or you will regret
it!

We are the ones that did it to you last year, we used a bad bomb guy his mercury

switch, and rocket launch wire didn’t work on the pipe bomb covered in nuts, just

so you know we are real and returning.

23. The same day, June 29, 2018, The Winchester Star received an envelope through
the mail that contained the same letter received by the CCBF. At the bottom, the letter also stated,
“We sent this letter to Cedar Creek to warn them we will be attacking them again.”

24, On or about July 2, 2018, Individual B, who owned and operated “The Maryland
Sutler,” recetved another letter through the mail at his residence in Gettysburg, Pennsylvania. The

envelope was postmarked June 29, 2018, at the USPS’s Northern Virginia processing center, and

the upper-left corner depicted the same Antifa symbol depicted on the June 29, 2018 letters

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received by the CCBF and The Winchester Star, without the additional words “Antifascist USA”
and “Action.” The letter depicted the same symbol. The body of the letter read:

[First name of Individual A, the President of the CCBF Board of Directors],

Since we can’t seem to get you to stop this celebration of a war to keep men in
chains, maybe if we go after your volunteers that help you out you will stop this. I
like the idea of burning your mother alive in a car bomb. It would really prove a
point on how easy it is to get to anyone, any time, any place. Our many members
have suggested we blow up your visitor building, or shoot it up. I like the idea of
burning it to the ground. We have all summer to plan for the attacks. We saved all

, our “Suspicious devices” as you cowardly called them, for your event. We must
punish you and those enactors for not stopping on sunday last year! We now have
plastic bombs, so metal detectors are useless! We have found a man that is going
to pose as a enactor to drive in some kind of fertilizer bomb. We have coolers,
thermoses, water bottles all made into small IED’s. We have focused all our
revenge on you and your event, it is so easy to get at and the cooler temperatures
make hiding things under clothing so much easier. We also have a slasher to cut
and stab spectators, that sounds like fun! All you have to do to stop a bloodbath in
october is just call this off. Publish a cancellation on website or else you will be
hearing from us in october.

At the bottom, the letter stated: “To our great friend the Maryland sutler, let everyone know it is
going to be a ‘Blast’ at Cedar Creek this fall. We sent the above letter to them.”

25. Thenext day, on or about July 3, 2018, the CCBF cancelled the 2018 annual Cedar
Creek Battlefield reenactment and associated events,

26. On or about September 29, 2018, Individual A resigned as the President of the
CCBF Board of Directors.

27. On or about October 2, 2018, The Winchester Star published an article titled:
“Cedar Creek Battlefield Foundation President, Board Member Resign Over Safety Concerns.”
According to the article, Individual A stated he resigned because others “were not taking security
and safety seriously enough.”

28. On or about October 10, 2018, the CCBF received a letter through the mail. Neither

the envelope nor the letter contained any printed symbols. The envelope was postmarked October

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5, 2018 at the USPS’s Northern Virginia processing center. The letter was addressed to Individual
A, and stated:

Sorry to see you go. You were the only one there who knew what we were able to
do. We were going to leave your park alone, but not now. If [Individual C, the
new acting president of CCBF Board of Directors] thinks she is safe, well she is
right, but her children are not! If she puts together a reenactment to celebrate
keeping men in chains, we will come after her girls, We have a convicted rapist
that would love to introduce them to his penis. Or we might kill [Individual D, or
Individual E, Individual F] or a few volunteers. It looks like we are going to burn
the store down. [Individual F] keeps opening it up, or we could just shoot him in
the morning. You also have a rat in your place, our information about everything
you are or were doing came from him. Yes, we like real information, but we also
hate rats. You might want to get rid of him. [Individual G] is your rat. We will
continue to get information from our other friends. You and your pretty mother,
and bald-headed dad are now safe, keep speaking the truth, expose this foundation
for what it is, a big bunch of racists. We are also looking at fun at Gettysburg if the
weather cooperates this year. Electronics and fuses don’t work weil in the rain.

29. On or about November 5, 2018, the Office of the Mayor of Gettysburg,
Pennsylvania opened an envelope that the office received on or about November 2, 2018. The
envelope was postmarked on October 31, 2018 at the USPS’s Harrisburg, Pennsylvania processing
center. The upper-left corner of the envelope depicted the same Antifa symbol as the two letters
received by the CCBF and The Winchester Star on June 29, 2018. The letter depicted the same
symbol. The letter was typewritten, addressed “Gettysburg Parade organizers,” and stated:

Last year it rained so much we decided to pass on blowing up bombs, driving over

people, and slashing viewers with knives. Our new idea is we are going to put

bombs into stores to disrupt this celebration of war to keep men in chains. Cancel

the flying of confederate flags and post it on Facebook, then we will leave you

alone. Don’t and someone is going to die.

30. On or about December 7, 2018, the CCBF received a letter through the mail
addressed to Individual F. The envelope was postmarked December 4, 2018, at the Harrisburg,

Pennsylvania, processing center. The upper-left corner of the envelope depicted the same Antifa

symbol as the two letters received by the CCBF and The Winchester Star on June 29, 2018, and

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the letter received by the Gettysburg Mayor on November 5, 2018. The letter depicted the same
symbol, and stated:

We have seen on Facebook that you are planning to defy us and hold a reenactment
in 2019. You want problems, you are going to get them! Your park is so large we
can get in at any point to disrupt and ruin this event. All we need is just one victim
to destroy you. One child hurt by a bomb, or anthrax. One child shot by an unseen
shooter hiding in the woods. One person who got slashed by a knife or stabbed in
the crowd. How about a fire? Just think if several tents were set on fire in the night
by fire dropping drones? How many of your nutty followers would like all of their
tires slashed or cars and trailers set on fire? How about the horses getting shot by
pellet guns and maybe poisoned in the night? Do not have this event to celebrate a
war to keep men in chains! We have many followers and we can make
Charlottesville a small footnote compared to what we can do to you!

[Individual F] would you like to bury your sister? Your brother? We could also
just kill you when you sit alone in the visitor center. We have a guy that likes to
rape, he could visit your sister! We can send him after [Individual C’s] little girls!
He would love putting his throbbing cock into her tight virgin pussy and mouths.
His cock is so big it would rip those girls wide open! Mom could always remember
that her girls were raped and kidnapped because of her! Stop this plan or we will
plan on attending with special “Devices” and airborne poisons, fire, knives,
silenced weapons, ground glass and metal for the horses to eat. We have all winter
to get ready, and we all know the reenactors are too drunk to stop us in the dark!

COUNT ONE

Mailing Threatening Communications to Cedar Creek Battlefield Foundation
September 21, 2017

31. Paragraphs One through Thirty of the Indictment are realleged and incorporated by
reference as though fully set forth herein.

32. Onor about September 21, 2017, in the Western District of Virginia, the defendant,
Gerald Leonard DRAKE, knowingly did deposit in an authorized depository for mail matter to be
sent and delivered by the Postal Service, and caused to be delivered by the Postal Service according
to directions thereon, a communication, dated September 21, 2017, addressed to the “Cedar Creek
Battlefield people,” and containing a threat to injure the person of another.

33. All in violation of Title 18, United States Code, Section 876(c).

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COUNT TWO
Malicious Use of Explosives
October 14, 2017
34. Paragraphs One through Thirty of the Indictment are realleged and incorporated by
reference as though fully set forth herein.
35. On or about October 14, 2017, in the Western District of Virginia, the defendant,
Gerald Leonard DRAKE, maliciously attempted to damage and destroy, by means of an explosive,
a building, vehicle, and other real and personal property used in interstate commerce, and in any
activity affecting interstate commerce, that is, the Cedar Creek Battlefield Foundation’s Annual
Reenactment events and the goods and merchandise used and sold at said events.
36. All in violation of Title 18, United States Code, Section 844(i).
COUNT THREE

Unlawful Manufacture of a Destructive Device
October 14, 2017

37, Paragraphs One through Thirty of the Indictment are realleged and incorporated

by reference as though fully set forth herein.

38. On or about October 14, 2017, in the Western District of Virginia, the defendant,
Gerald Leonard DRAKE, knowingly made a destructive device, as defined in Title 26, United
States Code, Sections 5845(a) and (f), that is, a pipe bomb, in violation of the provisions of

Chapter 53 of Title 26 of the United States Code.
39. All in violation of Title 26, United States Code, Sections 5841, 5861(f), 5871.

COUNT FOUR
Possession of an Unregistered Destructive Device

October 14, 2017
40. Paragraphs One through Thirty of the Indictment are realleged and incorporated

by reference as though fully set forth herein.

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41. On or about October 14, 2017, in the Western District of Virginia, the defendant,
Gerald Leonard DRAKE, knowingly possessed a destructive device, as defined in Title 26,
United States Code, Sections 5845(a) and (f), that is, a pipe bomb, not registered to him in the

National Firearms Registration and Transfer Record.
42. Allin violation of Title 26, United States Code, Sections 5841, 5861(d), 5871.

COUNT FIVE
Stalking, Individual A

43. Paragraphs One through Thirty of the Indictment are realleged and incorporated by
reference as though fully set forth herein.

44. From on or about September 23, 2017 until on or about October 10, 2018, in the
Western: District of Virginia, and elsewhere, the defendant, Gerald Leonard DRAKE, with the
intent to kill, injure, harass, and intimidate another person, used the mail to engage in a course of
conduct, including sending threatening letters through the mail, and planting a pipe bomb at the
Cedar Creek Battlefield Foundation’s Annual Reenactment, that placed Individual A in reasonable
fear of death and serious bodily injury to himself and an immediate family member, and caused,
attempted to cause, and would be reasonably expected to cause substantial emotional distress to
Individual A.

45. Gerald Leonard DRAKE used a dangerous weapon during the offense,

46. Allin violation of Title 18, United States Code, Sections 2261A(2), 2261(b)(3).

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COUNT SIX
Use of Explosive to Commit a Federal Felony
Carrying an Explosive During Commission of Federal Felony
October 14, 2017

47. Paragraphs One through Thirty of the Indictment are realleged and incorporated by
reference as though fully set forth herein.

48. On or about October 14, 2017, in the Western District of Virginia, the defendant,
Gerald Leonard DRAKE, used an explosive to commit, and carried an explosive during the
commission of, Counts Two, Three, Four, and Five, all felonies which may be prosecuted in a

court of the United States.

49, All in violation of Title 18, United States Code, Sections 844(h)(1) and (h)(2).

COUNT SEVEN
Stalking, Individual C

50. Paragraphs One through Thirty of the Indictment are realleged and incorporated by
reference as though fully set forth herein.

51. From on or about October 10, 2018 until on or about December 7, 2018, in the
Western District of Virginia, and elsewhere, the defendant, Gerald Leonard DRAKE, with the
intent to kill, injure, harass, and intimidate another person, used the mail to engage in a course of
conduct, including sending threatening letters through the mail, that placed Individual C in
reasonable fear of death and serious bodily injury to herself and an immediate family member, and
caused, attempted to cause, and would be reasonably expected to cause substantial emotional
distress to Individual C.

52. Allin violation of Title 18, United States Code, Section 2261 A(2).

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COUNTS EIGHT THROUGH ELEVEN
Use of Mail to Threaten Injury by Means of Explosive

53. Paragraphs One through Thirty of the Indictment are realleged and incorporated by
reference as though fully set forth herein.

54. On or about the following dates, within the Western District of Virginia, the
defendant, Gerald Leonard DRAKE, through the use of the mail, willfully made a threat, and
maliciously conveyed false information knowing the same to be false, concerning an attempt or
alleged attempt being made, and to be made, to kill, injure, and intimidate any individual, and
unlawfully to damage and destroy any building, vehicle, and other real or personal property by

means of an explosive.

 

 

 

 

 

Count Date ~ = — _ | Letter Recipient

EIGHT | June 29, 2018 | Cedar Greek Battlefield Foundation
NINE June 29, 2018 The Winchester Star

TEN October 10, 2018 Cedar Creek Battlefield Foundation
ELEVEN | December 7, 2018 Cedar Creek Battlefield Foundation

 

 

 

 

 

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55. Allin violation of Title 18, United States Code, Section 844(e).

COUNTS TWELVE THROUGH FIFTEEN
Mailing Threatening Communications to Cedar Creek Battlefield Foundation

56. Paragraphs One through Thirty of the Indictment are realleged and incorporated by

reference as though fully set forth herein.

57. On or about the following dates, within the Western District of Virginia, the
defendant, Gerald Leonard DRAKE, knowingly did deposit in an authorized depository for mail

matter, to be sent and delivered by the Postal Service, and caused to be delivered by the Postal

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Service according to directions thereon, a communication containing a threat to injure the person

 

 

 

 

 

of another.
Gout | |Date | LetterRecipient
TWELVE | June 29,2018 _ ~~ | Cedar Creek Battlefield Foundation
THIRTEEN | June 29, 2018 The Winchester Star
FOURTEEN | October 10, 2018 Cedar Creek Battlefield Foundation
FIFTEEN December 7, 2018 Cedar Creek Battlefield Foundation

 

 

 

 

 

58. All in violation of Title 18, United States Code, Section 876(c).

FORFEITURE ALLEGATION

59, The allegations contained in this Indictment are re-alleged and incorporated by
reference for the purpose of alleging forfeiture. Upon conviction of the offenses sent forth in
Counts Two, Three, and Four of this Indictment, the defendant, Gerald Leonard DRAKE, shall
forfeit to the United States, pursuant to Title 18, United States Code, Section 844(c) and/or Title
26, United States Code, Section 5872, any explosive materials involved or used or intended to be

used in any violation of United States law, including, but not limited to the following property:

a, assembled pipe bomb components;
b, black powder; and
c. endcaps.
If any of the property described above, as a result of any act or omission of the defendant:
a. cannot be located upon exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
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e. has been commingled with other property which cannot be divided without
difficulty, the United States of America shall be entitled to forfeiture of substitute property,
pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title 28, United

States Code, Section 2461(c).

th
A TRUE BILL, this 4 day of September, 2022.

/s/ Foreperson
FOREPERSON

ref “
CHRISTO RR. KAVANAUGH
UNITED STATES ATTORNEY

 

INDICTMENT
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